Case 2:05-cr-00107     Document 385   Filed 01/29/07   Page 1 of 8 PageID #: 2268



                        UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF WEST VIRGINIA
                                AT CHARLESTON

UNITED STATES OF AMERICA

v.                                    CRIMINAL ACTION NOS. 2:05-00107-01

GEORGE LECCO


                        MEMORANDUM OPINION AND ORDER


           Pending is the defendant's motion to suppress, filed

September 18, 2006.



           At an evidentiary hearing held December 13, 2006, came

the defendant, George Lecco, in person, and by counsel, Jay

McCamic and Federal Public Defender Mary Lou Newberger, and came

defendant Valerie Friend, in person, and by counsel, Gary

Collias, and came also the United States, by Criminal Division

Chief Philip H. Wright and Assistant United States Attorney Greg

McVey for an evidentiary hearing on the motion to suppress.

Testimony was received from two witnesses, Trooper Anthony S.

Perdue and First Lieutenant Cliff Akers.


           The court now enters its findings of fact, all made by

a preponderance of the evidence, along with its accompanying

conclusions of law.
Case 2:05-cr-00107   Document 385   Filed 01/29/07   Page 2 of 8 PageID #: 2269



                                    I.



            On February 16, 2005, at approximately 11:00 p.m.,

Trooper Perdue and FBI Special Agent Matt Hoke arrived at the

defendant’s Pizza Plus restaurant located in Red Jacket, West

Virginia.    Upon their arrival, the law enforcement officials were

greeted in the common area of the restaurant by Jean Lecco, the

defendant’s wife.     Ms. Lecco then proceeded to another part of

the restaurant and advised defendant that law enforcement

officers wished to speak with him.        The defendant then came to

the common area of the store to meet Trooper Perdue and Special

Agent Hoke.    A short time later, defendant and the law

enforcement officials proceeded to the restaurant’s food

preparation area.


            Defendant was advised at that time that he was the

subject of monitored controlled substance transactions and that

law enforcement was prepared to execute a search warrant of the

Pizza Plus restaurant.     After advising the defendant he was not

under arrest, that he was free to leave, and that he was not

required to cooperate with law enforcement, Trooper Perdue

inquired whether the defendant wished to assist law enforcement

in their ongoing investigation of illegal drug activity in the


                                     2
Case 2:05-cr-00107   Document 385   Filed 01/29/07   Page 3 of 8 PageID #: 2270



Red Jacket area.     Defendant agreed to cooperate.         The defendant

immediately volunteered, inter alia, that his supplier was James

Kitchen from Columbus, Ohio, and that he (defendant) made more

money selling cocaine than pizza.


           Approximately 15 minutes following the arrival of

Trooper Perdue and Special Agent Hoke, First Sergeant D.M Nelson

and First Lieutenant Akers arrived at the restaurant.              Trooper

Perdue and Special Agent Hoke were at that time in the process of

executing the search warrant in a living area of the restaurant.

The search lasted approximately 30 to 40 minutes.             This living

area was within a few feet of the food preparation area.


           After being advised upon their arrival by Trooper

Perdue that defendant wished to cooperate, First Sergeant Nelson

and First Lieutenant Akers sat down at a table with defendant in

the food preparation area.      Trooper Perdue requested First

Lieutenant Akers to take the defendant’s statement.             Again,

defendant was not in custody at this time or at any other point

during the encounter with law enforcement.


           Prior to receiving the defendant’s statement, First

Sergeant Nelson obtained a form FD-395 from Special Agent Hoke.

The form, entitled “INTERROGATION; ADVICE OF RIGHTS[,]” contains


                                     3
Case 2:05-cr-00107   Document 385   Filed 01/29/07   Page 4 of 8 PageID #: 2271



the substance of those warnings required by Miranda v. Arizona,

384 U.S. 436 (1966), and its progeny.         First Sergeant Nelson read

the contents of the form to defendant.          Once the form was read,

defendant signed the “WAIVER OF RIGHTS” portion of the form,

after which his signature was witnessed in like manner by First

Sergeant Nelson and First Lieutenant Akers.


            Defendant took no action at any time suggesting that he

did not understand the form.        Additionally, defendant never

suggested that he desired the services of counsel before

proceeding further.     The interview lasted approximately 30 to 40

minutes, at which time it was terminated.            The termination

resulted from First Lieutenant Akers’ desire to facilitate the

appointment of counsel to represent the defendant.             First

Lieutenant Akers terminated the interview in an attempt to

forestall the defendant, a previously convicted felon, from

further inculpating himself once he began providing in-depth,

previously unknown information concerning his possession of

firearms.   First Lieutenant Akers advised the defendant that the

United States Attorney’s office might be willing to provide him

with a target letter, which would lead to the appointment of

counsel to represent him.




                                      4
Case 2:05-cr-00107    Document 385   Filed 01/29/07   Page 5 of 8 PageID #: 2272



           At the conclusion of the search, the fruits obtained

therefrom were logged by Special Agent Hoke.            The interview

concluded at approximately the same time as the search.               The four

law enforcement officers then collectively departed the premises.



                                     II.



           Defendant contends that his February 16, 2005,

statement to law enforcement should be suppressed as violative of

the Fifth and Sixth Amendments.        Specifically, defendant contends

he did not knowingly and intelligently waive his Fifth and Sixth

Amendment rights and that the Miranda warnings contained on the

form came too late.


           A defendant's Fifth Amendment Miranda right applies

only to “custodial interrogation” by law enforcement.               McNeil v.

Wisconsin, 501 U.S. 171, 178 (1991).          One is deemed to be in

custody for Miranda purposes “if the person has been arrested or

if his freedom of action has been curtailed to a degree

associated with arrest.”       United States v. Sullivan, 138 F.3d

126, 130 (4th Cir. 1998).       Whether an individual is in custody is

an objective determination that is based upon the totality of the

circumstances.       In essence, the fact finder endeavors to


                                      5
Case 2:05-cr-00107    Document 385   Filed 01/29/07   Page 6 of 8 PageID #: 2273



determine “how a reasonable man would have understood the

[accused’s] position at the time.”         United States v. Parker, 262

F.3d 415, 419 (4th Cir. 2001).


            A defendant’s statements during custodial interrogation

are presumptively compelled in violation of the Fifth Amendment's

Self-Incrimination Clause.       Miranda v. Arizona, 384 U.S. 436,

457-58 (1966).       The government may defeat the presumption,

however, by demonstrating that law enforcement officers (1)

adequately informed the defendant of his Miranda rights, and (2)

obtained a waiver of those rights.         Id. at 444.


            A defendant’s waiver of his Miranda rights must be

“knowing[] and voluntar[y][.]”        North Carolina v. Butler, 441

U.S. 369, 373 (1979).       To determine whether a defendant was

possessed of the mental state requisite to a valid assent, a

court examines the “totality of the circumstances.”              Moran v.

Burbine, 475 U.S. 412, 421 (1986) (internal quotation marks

omitted).    A defendant acts knowingly if he had a “full awareness

of both the nature of the right being abandoned and the

consequences of the decision to abandon it.”            Id.    Regarding

voluntariness, one inquires whether the statement was “the

product of a free and deliberate choice [or, alternatively, the

result of] intimidation, coercion, or deception.”              Id.

                                      6
Case 2:05-cr-00107   Document 385    Filed 01/29/07   Page 7 of 8 PageID #: 2274




           Defendant was not arrested on February 16, 2005, and

was advised by law enforcement that he was not under arrest.

Indeed, based upon the totality of the circumstances, defendant

was free to leave at any time.         Inasmuch as defendant’s freedom

of action was not curtailed in any way, the court concludes his

rights under the Fifth Amendment and Miranda did not attach

during his encounter with law enforcement.            He was not subjected

to custodial interrogation.         The defendant’s statements to law

enforcement on February 16, 2005, both before and after the

Miranda warnings were made by him voluntarily, knowing, and

intelligently.


           In the alternative, should it be later found that

defendant was subjected to custodial interrogation, the court

concludes the government has overcome the Miranda presumption.

Defendant was read his Miranda rights by First Sergeant Nelson.

Defendant gave no indication at any time that he did not fully

comprehend those rights.      Defendant’s waiver of those rights is

reflected by his voluntary, witnessed signature in the waiver

portion of the form.


           Based upon these facts, the court concludes the

defendant was possessed of a full awareness of both the nature of


                                       7
Case 2:05-cr-00107   Document 385   Filed 01/29/07   Page 8 of 8 PageID #: 2275



the rights being abandoned and the consequences of the

abandonment decision.     The court additionally concludes that the

defendant’s action was the product of his free and deliberate

choice.   Based upon the totality of the circumstances, then, the

court concludes the defendant knowingly and voluntarily waived

any Miranda rights.


           The court, accordingly, ORDERS that the defendant’s

motion to suppress be, and it hereby is, denied.


           The Clerk is directed to forward copies of this written

opinion and order to all counsel of record.


                                         DATED:      January 29, 2007


                                         John T. Copenhaver, Jr.
                                         United States District Judge




                                     8
